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                10
                                                   UNITED STATES DISTRICT COURT
                11
                                   NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                12
                        WAYMO LLC,                               CASE NO. 3:17-cv-00939-WHA
                13
                                      Plaintiff,
                14                                               DECLARATION OF JOHN MCCAULEY
                             vs.                                 IN SUPPORT OF PLAINTIFF WAYMO
                15                                               RESPONSE TO ORDER REGARDING
                   UBER TECHNOLOGIES, INC.;                      LETTER FROM UNITED STATES
                16 OTTOMOTTO LLC; OTTO TRUCKING                  ATTORNEY (DKT. 2261)
                   LLC,
                17
                             Defendants.
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                                                                                      Case No.3:17-cv-00939-WHA
01980-00104/9679713.1                                                             DECLARATION OF JOHN MCCAULEY
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                  1          I, John McCauley, hereby declare as follows.

                  2          1.     I am a member of the bar of the State of California and an associate with Quinn
                  3 Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”), counsel for Plaintiff Waymo LLC
                  4 (“Waymo”). I make this declaration of personal, firsthand knowledge, and if called and sworn as a
                  5 witness, I could and would testify competently as follows.
                  6          2.     Attached as Exhibit 1 is a true and correct copy of a document bearing bates
                  7 number UBER00326333.
                  8          3.     Attached as Exhibit 2 is a true and correct copy of a November 24, 2017 letter from
                  9 David Perlson to Karen Dunn, Arturo Gonzalez, and Bill Carmody, counsel for Uber and
                10 Ottomotto.
                11           4.     Attached as Exhibit 3 is a true and correct copy of a November 25, 2017 email
                12 from James Judah to Special Master John Cooper and all counsel for Uber and Ottomotto.
                13           5.     Attached as Exhibit 4 is a true and correct copy of a November 25, 2017 email
                14 from Arturo Gonzalez to James Judah.
                15           6.     Attached as Exhibit 5 is a true and correct copy of the Declaration of James Judah
                16 in support of Waymo’s Response to Order Regarding Letter from United States Attorney.
                17           7.     Attached as Exhibit 6 is a true and correct copy of Uber’s Response to Judge
                18 Alsup’s Order Regarding April 5, 2017 Discovery Hearing (Dkt. 144.)
                19           8.     Attached as Exhibit 7 is a true and correct copy of excerpts from the October 2,
                20 2017 deposition of Angela Padilla.
                21           9.     Attached as Exhibit 8 is a true and correct copy of a November 24, 2017 email
                22 from David Perlson to Special Master John Cooper and all counsel for Uber and Ottomotto.
                23           I declare under penalty of perjury under the laws of the State of California that the
                24 foregoing is true and correct.
                25
                        DATED: November 27, 2017                      /s/ John McCauley
                26                                                    John McCauley
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01980-00104/9679713.1                                                                         DECLARATION OF JOHN MCCAULEY
                        Case 3:17-cv-00939-WHA Document 2282-1 Filed 11/27/17 Page 3 of 3




                  1                                   SIGNATURE ATTESTATION
                  2          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

                  3 filing of this document has been obtained from John McCauley.
                  4
                                                                   /s/ Charles K. Verhoeven
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                                                                     Charles K. Verhoeven
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01980-00104/9679713.1                                                                         DECLARATION OF JOHN MCCAULEY
